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                          Attorneys for Defendant
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                      8                                UNITED STATES DISTRICT COURT
                      9                                EASTERN DISTRICT OF CALIFORNIA
                     10
                          UNITED STATES OF AMERICA,                        CASE NO. 2:12-cr-00294-MCE
                     11
                                         Plaintiff,                        STIPULATION TO CONTINUE STATUS
                     12                                                    CONFERENCE AND EXCLUDE TIME
                                 v.                                        UNDER SPEEDY TRIAL ACT; ORDER
                     13                                                    THEREON
                          BART WAYNE VOLEN, GREGORY
                     14   SCOTT BAKER, and DARRELL
                          PATRICK HINZ,
                     15
                                         Defendants.
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                     18          IT IS HEREBY STIPULATED AND AGREED between the defendants and the United

                     19   States of America, by and through their undersigned counsel, that the status conference currently

                     20   set for March 7, 2013 at 9:00 a.m, should be continued to May 9, 2013 at 9:00 a.m., and that time

                     21   under the Speedy Trial Act should be excluded during that period.

                     22          The reason for the continuance is that the government recently produced approximately

                     23   24,000 pages of discovery to the defense (in addition to its initial production of approximately

                     24   12,000 pages), and anticipates producing and/or making available many more thousands of pages

                     25   of discovery. Counsel for each defendant needs more time to review the discovery, discuss

                     26   additional discovery with the government, research a number of issues, and discuss those matters

                     27   with his client. In addition, counsel for Mr. Volen has recently submitted a comprehensive

                     28   discovery request to the government which the government needs to evaluate and respond to.
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                      1          Moreover, on November 1, 2012, counsel for Mr. Baker filed a motion for authorization

                      2   of service of a subpoena pursuant to Rule 17(c), and that motion is currently set for hearing on

                      3   March 21, 2013.

                      4          The parties therefore stipulate that the requested continuance should be granted to provide

                      5   counsel reasonable time necessary for effective preparation, taking into account the exercise of

                      6   due diligence, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), and for the pendency of Mr. Baker’s

                      7   discovery motion, pursuant to 18 U.S.C. § 3161(h)(1)(D). The parties further stipulate that the

                      8   ends of justice served by granting this continuance outweigh the best interest of the public and the

                      9   defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

                     10          The undersigned counsel for the other parties have authorized Mr. Jacobs to sign this

                     11   stipulation for them.

                     12   Dated: March 5, 2013
                                                                       /s/ Matthew G. Jacobs
                     13                                                MATTHEW G. JACOBS
                                                                       Attorney for Defendant
                     14                                                BART WAYNE VOLEN
                     15   Dated: March 5, 2013
                                                                       /s/ Michael M. Beckwith
                     16                                                MICHAEL M. BECKWITH
                                                                       Assistant U.S. Attorney
                     17
                          Dated: March 5, 2013
                     18                                                /s/ Thomas A. Johnson
                                                                       THOMAS A. JOHNSON
                     19                                                Attorney for Defendant
                                                                       GREGORY SCOTT BAKER
                     20
                          Dated: March 5, 2013
                     21                                                /s/ William J. Portanova
                                                                       WILLIAM J. PORTANOVA
                     22                                                Attorney for Defendant
                                                                       DARRELL PATRICK HINZ
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                      2                                              ORDER

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                                 The status conference currently set for March 7, 2013 at 9:00 a.m, should be continued to
                      4
                          May 9, 2013 at 9:00 a.m., and that time under the Speedy Trial Act should be excluded during
                      5
                          that period.
                      6
                                 IT IS SO ORDERED.
                      7
                          Dated: March 8, 2013
                      8

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                     10                                            __________________________________________
                     11                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                                                   UNITED STATES DISTRICT JUDGE
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